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IN THE UNITED STATES DlSTRlCT COURT ig

FOR THE WESTERN DISTRICT OF TENNESSEE 05 §ij 275 ppi 'L*; 0
WESTERN DIVISION l -

masat H., oi__ '“' to
JIMMIE LEE COX, JR., Ci_E`:'-€l'§, U 3 P.."i . JT.

W.o. or 'ru, wis~.r>azs
Plaintiff,
‘“’- No. 04-2004 B
CAMBR'IDGE AIR sYsTEMs, INC.,

Defendant.

 

OR_DER OF DISMISSAL WITH PRE]UDICE

 

On April 4, 2005, this Court entered an order directing the Plaintiff, Jirnmie Lee Cox, Jr., to
show cause Why this matter should not be dismissed pursuant to Rules 37 and 41 of the Federal
Rules of Civil Procedure for failure to comply With orders of the Court and for failure to prosecute
ln its April 4 order, the Court noted as follows:

On March 24, 2005, Magistrate Judge S. Thornas Anderson entered a report and

recommendation in Which he stated that the Plaintiff, Jimmie Lee Cox, Jr., had failed

to attend a hearing before the magistrate judge on February 24, 2005. Based on the

Plaintiffs failure to appear, the Judge Anderson entered an order on February 25,

2005 directing Cox to show cause Why sanctions should not be imposed Although

the Court forwarded a copy of the show cause order to the Plaintiff‘s listed address

by certified mail, Cox completely failed to respond. Accordingly, the magistrate

judge recommended that the Court "should consider the imposition of sanctions,

including dismissal of the case, on Plaintiff." (Report and Recommendation at 2.)

(Order to Show Cause Why Case Should Not Be Dismissed at l.) The Court instructed Cox to
respond to the show cause order Within ll days of the entry thereof, admonishing him that “failure
to respond to the Court's directive Within the time period specified herein Will result in dismissal."

(Order to Show Cause Why Case Should Not Be Dismissed at l.) According to the Court's docket,

no filings have been made by the Plaintiff since entry of the show cause order.

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Rule 41(b) provides for dismissal of actions “[f]or failure of the plaintiff to prosecute or to
comply with [the Federal Rules of Civil Procedure] or any order of court . . ." Fed. R. Civ. P. 4 l (b).
A Rule 41(b) dismissal “operates as an adjudication upon the merits.” Ld_. The authority to dismiss
a case under Rule 41(b) "is available to the district court as a tool to effect management of its docket
and avoidance of unnecessary burdens on the tax-supported courts and opposing parties.” Knoll v.
American Tel. & Tel. Co., 176 F.3d 359, 363 (6th Cir. 1999), reh’gM suggestionf_orreh’g@banc
denied (June 30, 1999) (citations and internal quotations omitted). The Supreme Court has
recognized that

[n]either the permissive language of the Rule »- which merely authorizes a motion by

the defendant -- nor its policy requires us to conclude that it was the purpose of the

Rule to abrogate the power of courts, acting on their own initiative, to clear their

calendars of cases that have remained dormant because of the inaction or dilatoriness

of the parties seeking relief. The authority of the court to dismiss sua sponte for lack

of prosecution has generally been considered an “inherent power,” governed not by

rule or statute but by the control necessarily vested in courts to manage their own

affairs so as to achieve the orderly and expeditious disposition of cases.

Link v. Wabash R.R. Co., 370 U.S. 626, 630-31, 82 S.Ct. 1386, 1388-89, 8 L.Ed.2d 734 (1962).
District courts are permitted substantial discretion in determining whether dismissal is appropriatel
Knoll, 176 F.3d at 363; Harrnon v. CSX Transp.. lnc.. 110 F.3d 364, 366 (6th Cir. 1997), cert.
denied, 522 U.S. 868, 118 S.Ct. 178, 139 L.Ed.2d 119 (1997).

The Sixth Circuit has articulated four factors to be addressed by the Court in assessing
whether dismissal for failure to prosecute is warranted: (1) whether the party’s failure was the result
of willfulness, bad faith, or fault; (2) whether the opposing party suffered prejudice due to the party’ s

conduct; (3) whether the dismissed party was warned that failure to cooperate could lead to

dismissal; and (4) Whether less drastic sanctions Were imposed or considered before dismissal was

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ordered. Mulbah v. Detroit Bd. ofEduc._ 261 F.3d 586, 589 (6th Cir. 2001). Prior notice to the party

that his failure to cooperate may result in dismissal is important to support the sanction Vinci v.

 

Consolidated Rail Cor_‘p., 921r F.Zd 287, 288 (6th Cir. 1991) (per curiam).

in this case, as outlined above, the Plaintiff has violated the directives of this Court by failing
to appear at Court proceedings and by failing to respond to show cause orders. ln short, the Plaintiff
is making no effort to move this case forwardl Clearly, the necessity of monitoring a case that the
Plaintiff has dilatorily permitted to languish indefinitely works some hardship on the Defendant. ln
addition, the Plaintiff has been advised in no uncertain terms that failure to respond to the Court's
directives will result in dismissal of his claims. Finally, under the circumstances, the Court finds that
no sanction short of dismissal will cure the Plaintiffs failure to prosecute this matter

Based on the foregoing, the Plaintiffs lawsuit is hereby DISMISSED with prejudice

lT IS SO ORDERED this Q_ bday of :N:il:OOS.

UNIEL BREEN
UED STATES DISTRICT JUDGE

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:04-CV-02004 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

